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 7
 8                   IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   1:11-CR-00016-AWI
                                           )
12                     Plaintiff,          )   PRELIMINARY ORDER OF FORFEITURE
                                           )
13        v.                               )
                                           )
14   JOSE ALFREDO COLORADO MUNOZ,          )
      aka Alfredo Colorado,                )
15                                         )
                       Defendant.          )
16
17        Based upon the plea agreement entered into between plaintiff
18   United States of America and defendant Jose Alfredo Colorado Munoz
19   aka Alfredo Colorado, it is hereby ORDERED, ADJUDGED, AND DECREED as
20   follows:
21        1.    Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
22   2461(c), defendant Jose Alfredo Colorado Munoz aka Alfredo Colorado’s
23   interest in the following property shall be condemned and forfeited
24   to the United States of America, to be disposed of according to law:
25              a.    Approximately 32,561 DVDs and 168,247 CDs seized
                      from the warehouse at 360 Wooster Ave, San Jose,
26                    California on November 23, 2010;
27              b.    The following items seized from the warehouse at
                      360 Wooster Ave, San Jose, California on November
28



                                                         Preliminary Order of
                                           1             Forfeiture
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 1                  23, 2010:
 2                    i.   CD and DVD cover artwork,
 3                  ii.    Approximately 10,450 blank CD and DVD media,
 4                 iii.    Approximately 15,096 CD and DVD cases,
 5                  iv.    seal bags and wrappers,
 6                    v.   Approximately 5 CD and DVD disc replicators,
 7                  vi.    HP Studio Jet 50 printer, serial number
                           MY5A1122C,
 8
                  vii.     HP Q2288L printer, serial number MY8985R1C7,
 9
                  viii.    Epson Artisan 840 printer, serial number
10                         LJDY191711,
11                  ix.    HP PhotoSmart Plus, serial number CN0F412P4,
12                    x.   Gateway NV78 laptop computer, serial number
                           LXWE802005942023A31601,
13
                    xi.    Compaq Presario 85000NX computer, serial
14                         number MXK3350V0D,
15                 xii.    “Multi-media computer system” generic
                           computer,
16
                  xiii.    Approximately five internal and external
17                         hard drives,
18                 xiv.    Two Thumb drives,
19                  xv.    Approximately 142 DVD and CD master disks,
20                 xvi.    One generic, black Computer System,
21                xvii.    2-Wire gateway router, serial number
                           301019093693,
22
                 xviii.    One LG portable CD/DVD drive, serial number
23                         009HKAT061664,
24                 xix.    Approximately 12 cases of blank paper, and
25                  xx.    Approximately 5,000 plastic bags.
26        2.   The above-listed assets constitute or are derived from
27   proceeds traceable to a violation of 18 U.S.C. § 371 or a conspiracy
28   to commit such offense.



                                                         Preliminary Order of
                                           2             Forfeiture
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 1          3.    Pursuant to Rule 32.2(b), the Attorney General (or a
 2   designee) shall be authorized to seize the above-listed property.
 3   The aforementioned property shall be seized and held by the United
 4   States Marshals Service and/or Federal Bureau of Investigation in
 5   their secure custody and control.
 6          4.   a.    Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C.
 7   § 853(n), and Local Rule 171, the United States shall publish notice
 8   of the order of forfeiture.        Notice of this Order and notice of the
 9   Attorney General’s (or a designee’s) intent to dispose of the
10   property in such manner as the Attorney General may direct shall be
11   posted for at least 30 consecutive days on the official internet
12   government forfeiture site www.forfeiture.gov.           The United States may
13   also, to the extent practicable, provide direct written notice to any
14   person known to have alleged an interest in the property that is the
15   subject of the order of forfeiture as a substitute for published
16   notice as to those persons so notified.
17                b.     This notice shall state that any person, other than
18   the defendant, asserting a legal interest in the above-listed
19   property, must file a petition with the Court within sixty (60) days
20   from the first day of publication of the Notice of Forfeiture posted
21   on the official government forfeiture site, or within thirty (30)
22   days from receipt of direct written notice, whichever is earlier.
23          5.    If a petition is timely filed, upon adjudication of all
24   third-party interests, if any, this Court will enter a Final Order of
25   Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
26   2461(c), in which all interests will be addressed.
27   ///
28   ///
     ///

                                                            Preliminary Order of
                                              3             Forfeiture
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 1   IT IS SO ORDERED.
 2
     Dated:      June 8, 2012
 3   0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
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                                                         Preliminary Order of
                                           4             Forfeiture
